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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

PATRICIA J. CURTO,

Report &
Recommendation
v. 18-CV-695-JLS-JJM

Plaintiff,

ERIE COUNTY WATER AUTHORITY, et al.,

Defendants.

 

INTRODUCTION

This action arises from the termination of plaintiff Patricia
J. Curto’s water service by defendant Erie County Water Authority
(the “Water Authority”). Curto, acting pro se, raises a variety
of state and federal claims based on the alleged misconduct of the
Water Authority and its executive director, defendant Earl L. Jann,
Jr. In the previous Report & Recommendation — which District Judge
Sinatra adopted in full — Magistrate Judge Hugh B. Scott
recommended dismissing Curto’s complaint with leave to amend. See
Docket # 23, 29. Curto has filed an amended complaint, Docket #
30, and Defendants again move to dismiss under Federal Rule of
Civil Procedure 12(b) (6). Docket # 33. The motion has been
referred to the undersigned pursuant to 28 U.S.C. § 636(b). Docket
# 45. For the reasons that follow, Defendants’ motion should be

GRANTED IN PART and DENIED IN PART.
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LEGAL STANDARD
FRCP Rule 12(b) (6) authorizes the Court to dismiss a complaint
if it fails to allege a claim for which relief may be granted. In
deciding such a motion, the Court “is required to accept all ‘well-
pleaded factual allegations’ in the complaint as true.” Lynch v.

City of New York, 952 F.3d 67, 74-75 (2d Cir. 2020) (quoting

 

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)). However, although

 

the Court must “accept the plaintiff’s factual allegations as true
and draw all reasonable inferences in her favor,” it need not
credit “legal conclusions couched as factual allegations or naked
assertions devoid of further factual enhancement.” Mandala v. NTT

Data, Inc., 975 F.3d 202, 207 (2d Cir. 2020) (internal quotation

marks, ellipsis, and brackets omitted). In addition, where the
complaint was filed pro se, “it must be construed liberally to
raise the strongest arguments it suggests.” Nielsen v. Rabin, 746

F.3d 58, 63 (2d Cir. 2014).

“To survive a Rule 12(b) (6) motion to dismiss, the plaintiff
must plead enough facts to state a claim to relief that is
plausible on its face. A claim is plausible when the plaintiff
pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.”

Adia v. Grandeur Mgmt., Inc., 933 F.3d 89, 92 (2d Cir. 2019)

 

(internal citation, quotation marks omitted). “The plausibility

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standard is not akin to a probability requirement. A well-pleaded
complaint may proceed even if it strikes a savvy judge that actual
proof of the facts alleged is improbable, and that a recovery is
very remote and unlikely.” Nielsen, 746 F.3d at 62 (internal

citation, brackets, ellipsis, and quotation marks omitted).

FACTUAL BACKGROUND

 

Curto owns a property located at 20 Hazel Court in Orchard
Park. The property receives water service through the Water
Authority, whose executive director was Earl L. Jann at the time
of these events.

Curto alleges that on March 2, 2017, a Water Authority
employee went onto her property and left a notice on the doorknob
of the front door. A copy of the notice is included in the amended

complaint:

”

Erie County. Water Authority
: 350 Bilicott Square Bldg.
— Buffalo, NY 14203

 

 

‘eR IN PN

. This property is cing sefviced by
‘ the Eric County Water Authority. () Meter change

t
j Please call our Customer Service CO Meter set _
; Department immediately at: Meter reading
‘ 849-8444 ft Application for service

Failure to hour from you in 10 days (] Inspection of backflow device

will resuit in the termination of -
water service Date oa 4 {7 By [45

 

 
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Docket # 30 at 3. After placing the notice on the doorknob, the
employee crossed Curto’s property and walked towards the adjacent
neighbor’s house, where he spoke with the neighbor. In the amended
complaint, Curto does not disclose the content of the discussion
— she alleges only that the employee and her neighbor had “an
extensive conversation” about Curto’s “private ECWA information.”
Id. at 4. Curto states that she has “No Trespassing” signs posted
and visible on her property.

The parties dispute the purpose and meaning of the notice.

Curto’s theory is that the Water Authority engaged in a malicious

ruse to deprive her of water service. See Docket # 44 at 7
(alleging “[t]his was a set up... it was a sure bet that [her]
water service would be terminated”). Her theory is derived from

her interpretation of the notice and, specifically, the notation
that there had been an “application for service.” Curto construes
that phrase to mean that a new customer was “applying for” water
service at her address. See Docket # 30 at 2. From that phrase,
Curto postulates the following scenario: First, the Water
Authority pretended that a “new homeowner” had “applied for” water
service at her address. See Docket # 42 at 12; Docket # 44 at 13.
Second, the Water Authority sent the above notice concerning an
“application for service” and requested that the “new homeowner”

contact the Water Authority upon threat of termination. Third,

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when the “new homeowner” inevitably failed to contact customer
service (because the homeowner did not exist), the Water Authority
terminated water service at Curto’s address. See Docket # 12 at
7-8; Docket # 42 at 12; Docket # 44 at 8, 13. In short, the Water
Authority fabricated an elaborate pretext to terminate Curto’s
water service, premised on a fake “new” homeowner.

The Water Authority offers a more mundane explanation. It
asserts that it initially provided the notice to Curto not as part
of some fraudulent scheme, but because it needed “to perform
maintenance service to her watermeter.” Docket # 35 at 10.
Termination would follow if Curto failed to contact the Water
Authority and provide access to the property. The Water
Authority’s explanation appears to be consistent with the Water
Authority’s tariff, which indicates that water service “may be
discontinued” if a customer refuses “reasonable access to the
property for the purpose of reading, repairing, replacing, testing
or removing meters.”1 Docket # 9-1 at 16.

Regardless, it is unclear what action Curto took in response

to the notice. Her amended complaint seems to suggest that she

 

1 The Court may take judicial notice of, and therefore consider, the Water
Authority’s tariff. See Zurich Am. Ins. Co. v. S. Conn. Gas. Co., 442 F. Supp.

 

3d 510, 513 (D. Conn. 2020) (noting that on a motion to dismiss, a court may
“consider matters of which judicial notice may be taken,” which “include tariffs
publicly filed with a regulatory authority”); see also N.Y. Pub. Auths. L. §&

1054(10) (requiring the Water Authority to file its “rules and by-laws” with
the county clerk’s office); Docket # 34 at 2.
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did not call the Water Authority, as she asserts that she had “no
legal obligation” to do so. See Docket # 30 at 2; see also Docket
# 44 at 7 (claiming it is “irrelevant” whether she contacted the
Water Authority). But in her briefing, she also appears to claim
that she did call the Water Authority. See Docket # 44 at 6
(stating that the Water Authority’s “refusal to discuss (on the
phone) the alleged application for water service” forced her to go
to the Water Authority’s office in person); see also Docket # 42
at 11-12. However, Curto states that when she calied the Water
Authority, she did not inquire about the notice or the threatened
termination; instead, she asked for information about ‘another
customer’s application for (water) service.” Docket # 44 at 6;
see also id. at 12. That is, Curto was still operating under her
belief that a new customer had applied for water service at her
home, and she sought information about that new customer, which
the Water Authority apparently did not supply. See Docket # 44 at
6.

On March 21, 2017, Curto alleges that a Water Authority
employee came to her home, “turned off the water, left the property
and then re-entered the [] property, before leaving and driving
away.” Docket # 30 at 4.

On March 22, 2017, Curto visited the Water Authority’s office

and asked to have service restored. The Water Authority did not
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restore service, and the Hazel Court property has been without
water service ever since. On April 11, 2017, Curto served a notice
of claim on the Water Authority. See Docket # 9-3 at 2-4.

On September 16, 2018, one or more Water Authority employees
entered Curto’s property. The amended complaint does not disclose
what the employees did at the property or why they did it. See
Docket # 30 at 4.

Separate and apart from the termination of water service,
Curto challenges the Water Authority’s billing practices. Curto
alleges that, in the three billing cycles before her water service
was terminated, the Water Authority did not calculate her bills
based on water-meter readings or the water-meter postcards that
she sent. ECF No. 30 at 4, 5. As a result, the Water Authority’s
calculations for her water usage were incorrect and the bills were
inaccurate. Similarly, after service was terminated, Curto
received a final bill that was not calculated based on accurate
water-meter readings. Id. at 5.

In short, the Court can fairly discern five grievances that
Curto has against Defendants:

1. The Water Authority terminated her water service for an
invalid reason;

2. The Water Authority terminated her water service without
adequate notice of the reason for the termination and
without affording her an opportunity to be heard;
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3. She has been forced to vacate her home since the loss of
water service;

4. Water Authority employees trespassed on her property on
several occasions; and

5. The Water Authority overcharged her on a number of water
bills.

In May 2018, Curto brought suit against Defendants in New
York state court. The case was removed to federal court in June
2018. Tn her amended complaint, Curto lists over a dozen state
and federal causes of action that she seeks to bring against
Defendants. She describes her claims as follows:

[P]laintiff Patricia Curto is being subjected to
continuing acts, policy/practice and/or conspiracy to:
-illegally entry of oplaintiff’s posted property,
trespass upon plaintiff’s posted property

-violation of and denial of plaintiff’s state and
federal constitutional rights: due process; and/or equal
protection and/or privacy; and/or peaceful enjoyment of
her property; liberty; pursuit of happiness and etc
-Harassment, and/or retaliation, and/or intimidation;
-Discriminatory and/or disparage [sic] treatment;
-Negligent hiring, training, retention and employment;
-Violation of plaintiff's civil rights and human rights
under state and federal law;

-slander, libel and defamation;

~Failure to perform the duties of a public/civil
servants;

-Fraud and/or abuse of power/authority;

-Conspiring to violate plaintiff’s rights and to violate
the law;

-42 USC 1983 violation of constitutional rights;

-42 USC 1985 conspiracy;

-the defendants [sic] willful, wanton, conscious and
deliberate disregard of the plaintiff's rights and
interests and for conduct so reckless as to amount to
such disregard

Docket # 30 at 7.
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DISCUSSION

Defendants move to dismiss the amended complaint, arguing
that Curto has failed to set forth plausible state or federal
claims. The Court examines the claims below.

At the outset, the Court makes a few points that will guide
and focus its analysis. First, the Court wishes to emphasize its
obligation to construe a pro se complaint liberally to raise “the
strongest arguments it suggests.” Nielsen, 746 F.3d at 63.
Curto’s amended complaint is not a model of clarity, but the Court
is able to understand the conduct Curto is seeking to challenge
and, in a basic sense, why she finds that conduct wrongful. Once
viewed through the correct legal frameworks, at least some of
Curto’s claims appear to present rational theories for relief.

Second, one of the difficulties the Court faces is that

neither party has fully briefed the myriad legal issues that

Curto’s claims implicate. The Court does not necessarily fault
either party for this — as Curto is proceeding pro se and

Defendants were faced with responding to a sometimes vague and
unclear set of allegations — but it leaves the Court without the
benefit of full legal briefing. For that reason, and consistent
with its obligation to pro se litigants, the Court would permit
those claims that arguably state valid causes of action to advance

to discovery, but would await further development and briefing to
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make any definitive pronouncements about their ultimate legal or
factual viability.

Third, the Court will not consider Curto’s overarching theory
that the Water Authority engaged in a ruse to deprive her of water
service. Ordinarily, of course, a court must “accept as true all
factual allegations” in the complaint. Nielsen, 746 F.3d at 62.
That being said, a court need not credit conclusory, fanciful, or
speculative allegations, it need not “suspend common sense when

analyzing the complaint,” AJ Energy LLC v. Woori Bank, 829 F. App’x

 

533 (2d Cir. 2020) (summary order), and it may reject claims that
are implausible “in light of [the] factual allegations in the
pleading itself.” Krys v. Pigott, 749 F.3d 117, 133 (2d Cir.
2014).

Curto’s allegation is that, spontaneously and without reason,
the Water Authority targeted her for a ruse, in which it invented
a fake “new homeowner,” pretended that the homeowner applied for
new water service at Curto’s address, sent out a real notice to
Curto’s home (thus, for some reason, revealing the scheme to
Curto), and then terminated water service on the concocted ground
that the new homeowner had not called its customer service
department. See Docket # 28 at 2; Docket # 38 at 9; Docket # 44
at 7-8, 13. Curto’s theory seems to be wholly derived from her

interpretation of the notice, which, while admittedly ambiguous,

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simply cannot bear the weight Curto places on it. See Mira v.
Kingston, 715 F. App’x 28, 30 (2d Cir. 2017) (summary order)
(rejecting plaintiff's claim of surveillance by and a conspiracy
between her first and second employers, where plaintiff only
alleged that the two employers had a meeting on one occasion and
that one meeting participant commented “she would close her blinds
while in New York because of possible surveillance”). This is not
a case where Curto’s theory is simply unlikely; it defies
plausibility in light of the underlying factual basis she alleges.

Consequently, the Court will not evaluate the adequacy of
Curto’s claims by reference to her overarching theory that the
Water Authority sent her the notice as part of a ruse. The Court
will proceed on the assumption that the Water Authority sent the
notice because it intended to perform maintenance on the property.
The Court does so because this explanation may be reasonably
inferred from the amended complaint’s allegations, and because
Curto offers no alternative explanation beyond the one rejected
above.

With these caveats, the Court turns to Curto’s claims.
I. Claims against Executive Director Jann

Curto brings suit against both the Water Authority and

Executive Director Jann, though Executive Director Jann’s

involvement in the underlying misconduct is not evident. The only

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specific allegation that relates to Executive Director Jann is
Curto’s claim that he failed “to train and supervise subordinates
with scienter that such failure may foreseeably lead to specific
types of constitutional violations.” Docket # 30 at 6. This is
a legal conclusion, not a factual allegation, and Curto does not
marshal facts to demonstrate Executive Director Jann’s

involvement. See Estate of Umar v. Bensch, No. 18-CV-1414, 2020

 

WL 3491633, at *3 (W.D.N.Y. Jan. 9, 2020) (“{C]onclusory references
to ‘negligent’ behavior are mere legal conclusions . .. ."”).
Absent supporting factual allegations, Executive Director
Jann cannot be held liable for any of the constitutional violations
Curto raises. It is well-established that a supervisor may not be
held liable under Section 1983 merely because he “occupied a

supervisory position.” Powell v. Johnson, No. 11-CV-1304, 2013 WL

 

2181268, at *5 (N.D.N.Y. May 20, 2013). Likewise, as to Curto’s
State-law claims, Executive Director Jann cannot be held liable
solely given his supervisory role and without any allegation of

fault.? See Connell v. Hayden, 83 A.D.2d 30, 50-51 (N.Y. App. Div.

 

 

2 Curto does not explain the structure of the Water Authority, the nature of
Executive Director Jann’s role, or the level of control he maintains over
subordinates, so there is insufficient information to conclude that he could be
treated as the “employer” of Water Authority employees for purposes of
respondeat superior. See Connell, 83 A.D.2d at 50 (“The employer of [a
supervisor and a subordinate] is liable under respondeat superior, but the
supervisor is not because he lacks the right to select, control, and discharge
the employee which is essential to the imposition of vicarious liability under
that doctrine.”).

 

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1981) (“The doctrine of respondeat superior does not apply to

 

impose vicarious liability upon supervisors. . . . This does not
mean that a supervisor may not be liable for the injuries caused
by the conduct of one of his subordinates. It does mean that his
liability is not vicarious, that is, without fault on his part.”);

see also Northrop v. Lopatka, 610 N.E.2d 806, 810 (Ill. App. Ct.

 

1993) (“The common law does not impose strict liability on an
employee who is merely the supervisor, but not the employer, of
the employee who commits the tort.”).

Accordingly, given the absence of factual allegations of
Executive Director Jann’s involvement in the underlying
misconduct, all claims against him should be dismissed.

Il. Claims against the Water Authority

 

Procedural Due Process as to Termination of Water Service:

 

Curto’s amended complaint can fairly be read to include a
procedural due process claim, as she asserts that Defendants’
misconduct — including their decision to terminate water service
— violated her right to “due process.” Docket # 30 at 7.
Defendants move to dismiss that claim, arguing that Curto has
not sufficiently alleged a procedural due process claim, since she
does not identify “any property right,” describe “what process was
due to her,” or explain how “Defendants have deprived her of [her

due process] right.” Id. at 18.

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Curto’s procedural due process claim should be allowed to
proceed. Defendants may be correct that Curto has not expressly
identified the required elements for a procedural due process
claim, but the nature of Curto’s claim is fairly discernible from
her amended complaint: she alleges that her water service was
terminated without notice or an opportunity to be heard. See
Docket # 30 at 2 (criticizing the clarity of the March 2, 2017
notice); id. (alleging that “there are no hearings” for these types
of terminations). As set forth below, a procedural due process
claim at least appears to be cognizable, and absent more developed
argument, the Court would decline to dismiss Curto’s claim at this
early stage.

The Water Authority is a “municipal entity” subject to suit
under 42 U.S.C. § 1983 for violations of individuals’ federal
constitutional rights, including the right to procedural due

process. See Matusick v. Erie Cty. Water Auth., 757 F.3d 31, 62-

 

63 (2d Cir. 2014); McMenemy v. City of Rochester, 241 F.3d 279,

 

285-86 (2d Cir. 2001). To prevail on a claim for deprivation of
procedural due process rights against a municipal entity, the

plaintiff must show that she “possessed a protected liberty or

property interest,” and that, due to the entity’s policies or
customs, “[s]he was deprived of that interest without due process.”
McMenemy, 241 F.3d at 286. Actual damages or injuries are not

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necessary. See Poventud v. City of New York, 750 F.3d 121, 136

 

(2d Cir. 2014) (noting that “the denial of procedural due process”
is “actionable for nominal damages without proof of actual injury,”
and explaining that “the right to procedural due process is
‘absolute’ in the sense that it does not depend upon the merits of
a claimant’s substantive assertions”).

The first prong may be met, as Curto has a protected interest

in water service. See, e.g., Manza v. Newhard, 470 F. App’x 6, 8

 

(2a Cir. 2012) (summary order) (noting that “the cessation of

essential [utility] services for any appreciable time works a

 

uniquely final deprivation of a property interest” (internal
quotation marks omitted)); Mansfield Apartment Owners Ass’n v.
City of Mansfield, 988 F.2d 1469, 1474 (6th Cir. 1993) (“It is

 

well settled that the expectation of utility services rises to the
level of a ‘legitimate claim of entitlement’ encompassed in the
category of property interests protected by the due process

clause.”); Ludwig v. City of Jamestown, N.Y., 518 F. Supp. 2d 484,

 

498-99 (W.D.N.Y. 2007); see also Memphis Light, Gas & Water Div.

 

v. Craft, 436 U.S. 1 (1978).

As to the second prong, the Court must determine what process
Curto was due before her water service was terminated. Generally,
“[iln determining what process is due, a court must balance three

factors: (1) the private interest that will be affected by the

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official action; (2) the risk of an erroneous deprivation of such
interest through the procedures used, and the probable value, if
any, of additional or substitute procedural safeguards; and (3)
the Government’s interest, including the function involved and the
fiscal and administrative burdens that the additional or
substitute procedural requirement would entail.” McMenemy, 241
F.3d at 288 (internal quotation marks omitted).

In the context of the termination of utility services, a
necessary component of due process is a pre-deprivation

opportunity to be heard. See Memphis Light, 436 U.S. at 18. As

 

the U.S. Supreme Court opined:

[S] ome administrative procedure for entertaining
customer complaints prior to termination is required to
afford reasonable assurance against erroneous or
arbitrary withholding of essential services. The
customer’s interest is self-evident. Utility service is
a necessity of modern life; indeed, the discontinuance
of water or heating for even short periods of time may
threaten health and safety. And the risk of an erroneous
deprivation, given the necessary reliance on computers,
is not insubstantial.

Ordinarily, due process of law requires an opportunity
for some kind of hearing prior to the deprivation of a
significant property interest. On occasion, this Court
has recognized that where the potential length or
severity of the deprivation does not indicate a
likelihood of serious loss and where the procedures
underlying the decision to act are sufficiently reliable
to minimize the risk of erroneous determination,
government may act without providing additional advance
procedural safeguards ... . The factors that have
justified exceptions to the requirement of some prior
process are not present here. Although utility service
may be restored ultimately, the cessation of essential

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services for any appreciable time works a uniquely final
deprivation.

Memphis Light, 436 U.S. at 18-20 (internal citations, quotation
marks, and footnotes omitted).

By extension, a utility customer must also receive adequate
notice of the pre-deprivation opportunity to be heard. “The
purpose of notice under the Due Process Clause is to apprise the
affected individual of, and permit adequate preparation for, an
impending ‘hearing.’” Id. at 14. In Memphis Light, the Court
found a violation of procedural due process based on a utility’s
failure to “provide notice reasonably calculated to apprise
[customers] of the availability of an administrative procedure to
consider their complaint of erroneous billing.” Id. at 22; see

also id. at 14 (“Notice . . . does not comport with constitutional

 

requirements when it does not advise the customer of the
availability of a procedure for protesting a proposed termination
of utility service as unjustified.”). Other courts have found
termination notices wanting on similar grounds. See Ludwig, 518

F. Supp. 2d at 501; Real Estate Investors Ass’n v. City of

 

Jamestown, No. 00-CV-815, 2004 WL 2202591, at *3-4 (W.D.N.Y. Sept.
30, 2004).

In short, before any termination of water service, Curto was
constitutionally entitled to pre-termination notice and an

opportunity to be heard. The notice she did receive, however, was
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vague and unclear. Tt indicates that there was an “application
for service” on March 1, but it does not specifically reference
Curto or her address. See Docket # 30 at 3. Standing alone, the
phrase “application for service” has no obvious meaning. It could
mean, as Curto inferred, that the Water Authority had received an
application to provide water service at the Hazel Court property,
or it could mean, as the Water Authority contends, that the Water
Authority was intending to provide maintenance services at the
property. The notice goes on to say:

This property is being serviced by the [Water

Authority]. Please call our Customer Service Department
immediately at:
849-8444

Failure to hear from you in 10 days will result in the
termination of water service.

Viewing the notice as a whole, it can be said to convey some
information — e.g., what action the Water Authority is taking
(service), what action the homeowner must take (call a telephone
number), and the consequences of inaction (termination of water
service) — but a reader would likely be left with more questions
than answers. The notice does not indicate what kind of service
is being performed, what obligations such service imposes on the
homeowner, or, most importantly, why the failure to call a number

results in the termination of service, and what remedies the

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homeowner has to challenge the proposed service or the potential
termination.

Thus, it could be reasonably argued that the Water Authority
left a threat of termination on Curto’s doorstep and provided
little context by which Curto could assess what was happening and

why. See Memphis Light, 436 U.S. at 14 (“The purpose of notice

 

under the Due Process Clause is to apprise the affected individual

of, and permit adequate preparation for, an impending ‘hearing.’”

 

(emphasis added)); Mullane v. Central Hanover Bank & Trust Co.,

 

339 U.S. 306, 314 (1950) (“[The] right to be heard has little
reality or worth unless one is informed that the matter is pending
and can choose for himself whether to appear or default, acquiesce
or contest.”). Under the circumstances, the Court cannot fault
Curto, a layperson, for her interpretation of the notice. She
believed the notice related to someone “applying for” water
service, and, because she already had water service, the notice
did not relate to her. Indeed, the vagueness of the notice appears
to have tainted Curto’s subsequent attempts to contact the Water
Authority and resolve the issue because, when she called, she
inquired about this “new” customer’s “application,” rather than
about the notice, the upcoming service, or the potential

termination. See Docket # 44 at 6.

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Defendants respond that, had Curto called the listed
telephone number, any confusion would have been ameliorated, as a
customer-service representative would have clarified that the
Water Authority was “attempting to perform maintenance service on
the water meter attached to her home.” Docket # 35 at 12. In the
first place, on a motion to dismiss, the Court cannot consider the
Water Authority’s allegation concerning what the telephone call '
would have revealed. Furthermore, the Court is skeptical that a
defective notice can be deemed constitutionally adequate simply
because it refers the reader to a telephone number for more

information. See Wilson v. Health & Hosp. Corp. of Marion Cty.,

 

620 F.2d 1201, 1215 (7th Cir. 1980) (*Nor[] do we regard as
sufficient the non-communicative statement in the notice that if
there were any questions regarding the notice given to the
plaintiff, he could call a designated telephone number. This does
not strike us as meeting the . . . requirement of being of sucha
nature as reasonably to convey the required information 20
(internal quotation marks omitted)); Henry v. Gross, 803 F.2d 757,
767 (2d Cir. 1986) (same). This is particularly so given that the
language of the notice misdirected Curto into a different line of
investigation — the possible “new customer.”

Regardless, even if it can be said that Curto should have

called the customer-service line and that such a call would have

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Clarified what was happening, Curto alleges that the Water
Authority does not provide an opportunity to be heard to challenge
the Water Authority’s actions.3 See Docket # 30 at 2. It is not
difficult to imagine that there may be circumstances where the
Water Authority mistakenly believes repairs are necessary at a
home when, in fact, they are not, or where the Water Authority
mistakenly sends a notice to the wrong property. Based on the
above authority, there is a case to be made that “some
administrative procedure for entertaining [these kinds of]
customer complaints prior to termination is required to afford
reasonable assurance against erroneous or arbitrary withholding of
essential services.” Memphis Light, 436 U.S. at 18. The procedure
might be as simple as “[t]he opportunity for a meeting with a
responsible employee empowered to resolve the dispute.” Id. Here,
Curto alleges that employees in the Water Authority’s customer-
service department are not empowered to resolve these kinds of
disputes. See Docket # 28 at 4; Docket # 30 at 2.

For these reasons, Curto may have a viable procedural due
process claim premised on the lack of (reasonably clear) notice
and/or an opportunity to be heard prior to termination of water

service. The Court’s conclusion here is necessarily tentative —

 

3 Given Curto’s allegation that the Water Authority provided no mechanism to
address and correct the issue, the Water Authority’s claim that Curto failed to
exhaust her administrative remedies is rejected. See Docket # 39 at 10-11.

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as neither party has sufficiently briefed the legal issues involved
— and is without prejudice to either side developing facts and
marshalling additional legal authority in support of summary
judgment. Ultimately though, Curto’s basic claim is troubling:
the Water Authority claims the right to permanently deprive an
unresponsive homeowner of water service a mere ten days after it
places a single, vague notice about the need for maintenance on
the homeowner’ s doorknob. This claim merits further
consideration.

Equal Protection: Curto alleges that the Water Authority’s
misconduct was the result of age and sex discrimination, and she
brings a claim for violation of her state and federal right to
equal protection. See, e.g., Docket # 30 at 6 (stating that, “but
for the fact [she] is an older female she would have water service
today”). Curto alleges no factual basis for this belief, however,
and instead simply recites a series of conclusory statements
asserting as much. See id. at 5. Defendants argue that the
amended complaint is insufficient to state an equal protection
claim. The Court agrees.

Courts have held that the “naked allegation” that a defendant
has unlawfully discriminated against the plaintiff is insufficient

to survive a motion to dismiss, see, e.g., Albert v. Carovano, 851

 

F.2d 561, 572 (2d Cir. 1988) (“The naked allegation that

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[defendants] selectively enforc[ed] the College rules ... against
plaintiffs . . . because they are black [or] Latin is too
conclusory to survive a motion to dismiss.” (internal quotation
marks omitted)), as is a “formulaic recitation” that others outside

the class were treated differently. See, e.g., Dellutri v. Vill.

 

 

of Elmsford, 895 F. Supp. 2d 555, 572 (S.D.N.Y¥. 2012) (“The
totality of Plaintiff’s allegations regarding his Equal Protection
claim is a conclusory assertion, without any detail, that Defendant
differed in its treatment to other similarly situated property
owners. Because this conclusory statement offers no details
regarding other similarly situated individuals, this claim is
dismissed.” (internal citation and quotation marks omitted));

Bishop v. Best Buy, Co. Inc., No. 08-CV-8427, 2010 WL 4159566, at

 

*6 (S.D.N.Y. Oct. 13, 2010) (statement — that “Caucasian and non-
African American customers were shopping in BEST BUY during this
time, and were not treated with racial animus and in a similar
racial [sic] discriminatory manner” — would not be sufficient to
withstand a motion to dismiss).

In this case, Curto offers nothing more than conclusory,
generalized assertions that young and/or male customers were
treated differently than her. See Docket # 30 at 5-6. She does
not explain the factual basis for these assertions or describe any

specific instances in which male/young customers were treated

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differently despite facing similar circumstances as her. While
the Court recognizes that a plaintiff’s burden at this stage is

not onerous, see Hu v. City of New York, 927 F.3d 81, 97-98 (2d

 

Cir. 2019), Curto does not provide any facts from which sex or age
discrimination can be reasonably inferred. Accordingly, this
claim should be dismissed.

Right to Privacy: Curto alleges that the Water Authority

 

violated her state and federal right to “privacy.” Docket # 30 at
7. To the extent Curto seeks to bring a claim that the Water
Authority wrongfully disclosed private information, the Court
agrees with Defendants that her allegations are too conclusory.
See Docket # 35 at 22-23. Federal and New York courts have
recognized a “right to privacy in one’s personal information” as

a component of due process, Hancock v. Cty. of Rensselaer, 882

 

F.3d 58, 65 (2d Cir. 2018); Hunter v. City of New York, 58 A.D.2d

 

136, 141 (N.Y. App. Div. 1977), which extends to certain types of

private information. See Doe No. 1 v. Putnam Cty., 344 F. Supp.

 

3d 518, 540 (S.D.N.Y. 2018).

In the amended complaint, Curto alleges that a Water Authority
employee “had an extensive conversation” about Curto’s “private
ECWA information.” Docket # 30 at 4. Because the amended
complaint fails to identify what information the Water Authority

disclosed, the Court is unable to determine whether the right to

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privacy attaches to the information. Therefore, Curto fails to

State a claim for relief. Accord Phelan v. Sullivan, No. 10-CV-

 

724, 2010 WL 2948217, at *7 (N.D.N.Y. July 7, 2010) (dismissing
claim for violation of constitutional right to privacy where
plaintiff only alleged that defendant “shared confidential
information regarding plaintiff” (internal brackets omitted)).

Rights to “Liberty” and “Pursuit of Happiness”: Curto alleges

 

that the Water Authority’s actions violated her rights to “liberty
[and] pursuit of happiness.” Docket # 30 at 7. As Defendants
correctly argue, Docket # 35 at 23, the claim related to Curto’s
pursuit of happiness is not legally cognizable. See Coffey v.
United States, 939 F. Supp. 185, 191 (E.D.N.Y. 1996). Similarly,
a generic claim that the Water Authority violated Curto’s “liberty”
is insufficient to state a claim.

Takings Claim: Curto alleges that, once her water service
was terminated, it became “illegal” for her to live in her home
under local law and building codes, and that she has since become
“homeless.” Id. at 4. She also claims that the Water Authority's
actions have deprived her of her “peaceful enjoyment of her
property.” Docket # 30 at 7. Read liberally, Curto appears to be
arguing that the Water Authority’s actions effected an

unconstitutional taking of her property. See Auracle Homes, LLC

 

v. Lamont, No. 20-CV-829, 2020 WL 4558682, at *14 (D. Conn. Aug.

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7, 2020) (discussing circumstances in which non-categorical
regulatory takings are unconstitutional).

Defendants do not appear to construe the amended complaint to
raise such a claim, and they develop no argument as to why such a
claim fails as a matter of law. Without developed argument, the
Court has before it no basis to dismiss the claim. The claim may
therefore proceed.

Abuse of Power, Abuse of Authority, Failure to Perform Duties

 

of Civil Servants: Curto’s claims for “abuse of power/authority”

 

and “failure to perform the duties of a public/civil servant[]” do

not encompass recognizable causes of action. See, e.g., Mullinv.

 

Balicki, No. 11-CV-247, 2019 WL 2315044, at *12 (D.N.J. May 31,
2019); Wallace v. Burns, No. 09-CV-6057, 2010 WL 2231859, at *3
(W.D. Ark. May 7, 2010).

If Curto is attempting to argue that the Water Authority’s
conduct amounts to a substantive due process violation, the amended
complaint falls short. “Substantive due process standards are
violated only by conduct that is so outrageously arbitrary as to
constitute a gross abuse of governmental authority.” Natale v.

Town of Ridgefield, 170 F.3d 258, 263 (2d Cir. 1999). While Curto

 

has alleged that the Water Authority (or its employees) may have
erred or otherwise acted wrongly in terminating her water service

and entering her property, the allegations do not rise to the level

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of a substantive due process violation. See id. (noting that
substantive due process claim cannot be established “simply by
proving that someone did not obtain what he or she is entitled to
under state law”); Lee v. Gardner, No. 18-CV-1478, 2020 WL 1862068,
at *2 (D. Conn. Apr. 14, 2020) (no substantive due process
violation where plaintiff alleged that code enforcement officer
trespassed on her property and issued citations).

42 U.S.C. §§ 1983, 1985: Curto references Sections 1983 and

 

1985 among her claims. See Docket # 30 at 7. Those provisions
are not freestanding causes of action, however, and are dismissed

to that extent. See Carrero v. N.Y.C. Housing Auth., 890 F.2d

 

569, 575-76 (2a Cir. 1989) (noting that § 1985, like § 1983,
“oreates no substantive rights but provides only a remedy for
violations of substantive rights created elsewhere”).

Common Law Trespass: Curto alleges that, on March 2, 2017,

 

March 21, 2017, and September 16, 2018, Water Authority employees
illegally entered her property. Docket # 30 at 4, 7. The Water
Authority argues that this claim fails because state law and the
Water Authority tariff empower its employees to enter a customer’s
property to notify the customer about water-service matters and to
terminate water service.

The Court cannot recommend that this claim be dismissed.

“Under New York common law, trespass is an intentional entry onto

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the property of another without justification or permission.”

Wierzbic v. Howard, 331 F.R.D. 32, 47 (W.D.N.Y. 2019) (internal

 

quotation marks omitted). To avoid liability, the Water Authority
relies on its claimed justification or privilege to enter Curto’s
property.

Even accepting the Water Authority’s claimed privilege, an
entry pursuant to a privilege must be “for the purpose for which
the privilege is given” and only to the extent “reasonably
necessary .. . to perform the duty or exercise the authority.”

Restatement (Second) of Torts § 211 cemts. c, £ (1965). Curto’s

 

allegations make clear that Water Authority employees acted beyond
the scope of any privilege to which they would be entitled. on
March 21, 2017, a Water authority employee placed a notice on
Curto’s doorknob — perhaps a privileged act — and then proceeded
to remain on the property and have an “extensive conversation”
with Curto’s neighbor, despite the fact that the purpose of the
entry had been fulfilled and despite the “NO TRESPASSING” signs on

the property. Cf. Rager v. McCloskey, 111 N.E.2d 214, 216-17 (N.Y.

 

1953) (deputy sheriff's original entry onto property to serve
process was lawful but became unlawful when he “refused repeated
requests to leave and persisted in remaining [at the property] for
a not inconsiderable period”). On March 21, 2017, a Water

Authority employee entered the property to terminate water

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service, left the property, “and then re-entered the [] property,
before leaving and driving away.” Docket # 30 at 4 (emphasis
added). The first entry on that day may have been privileged, but
the Water Authority fails to explain how the second comes within
the scope of the privilege. Finally, on September 16, 2018,
several Water Authority employees “repeatedly” walked onto Curto’s
property, but apparently did not conduct any utility business on
the property.

Thus, reading the amended complaint liberally and accepting
the factual allegations as true, Curto alleges that Water Authority
employees exceeded the scope of any privilege and did not act
consistent with the purpose of the privilege. In its motion to
dismiss, the Water Authority does not discuss this nuance — it
merely argues that the entries were privileged.* See Docket # 35
at 29-30. Accordingly, the Court declines to dismiss the trespass
claim at this juncture.>

Harassment, Retaliation, Intimidation: Curto raises claims

 

for “harassment,” “retaliation,” and “intimidation.” Docket # 30

 

4 The Water Authority does not argue that it cannot be held vicariously liable
for the trespasses of its employees.

5 It is unclear whether Curto is also attempting to raise a Fourth Amendment
claim based on the allegedly unlawful entries onto her property. If she is,
such a claim would fail as to the Water Authority because Curto does not
plausibly allege that the trespasses occurred “pursuant to a municipal policy
or custom.” Patterson v. Cty. of Oneida, N.¥., 375 F.3d 206, 226 (2d Cir.
2004).

 

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at 7. Defendants argue that these do not appear to be recognizable
causes of action, and Curto fails to clarify the basis for these
claims — a statute, the Federal or State Constitution, common law,
etc. Even aside from the issue of whether such causes of action
exist, the alleged misconduct does not rise to the level of
harassment, retaliation, or intimidation, as those words are
ordinarily understood. At most, the amended complaint indicates
that the Water Authority wrongly terminated Curto’s water service
and overbilled her, and some employees trespassed on her property
on a few isolated occasions. There is nothing to suggest that
these actions occurred as retaliation for protected activity or as
part of a harassment campaign. These claims are deficient both
factually and legally and should be dismissed.

Negligent Hiring, Training, Retention, and Employment: Curto

 

has not sufficiently alleged her claim that the Water Authority
negligently hired, supervised, retained, and trained those Water
Authority employees who trespassed on her property and terminated
water service. As to the employees’ trespassing, Curto does not
allege that the Water Authority “knew or should have known of [any]
employee’s propensity for the [trespassory] conduct which caused

the injury prior to the injury’s occurrence.” Ehrens v. Lutheran

 

Church, 385 F.3d 232, 235 (2d Cir. 2004) (internal quotation marks

omitted). As to the termination of water service, Curto cannot

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succeed on her claim because the employees’ actions appear to be
in accordance with the Water Authority’s own policies and
practices, and therefore any employees would have been acting
within the scope of their employment when they terminated Curto’s

water service. See Velez v. City of New York, 730 F.3d 128, 136-

 

37 (2d Cir. 2013) (“To maintain a claim against a municipal
employer for the negligent hiring, training, and retention of a

tortfeasor under New York law, a plaintiff must show that the

employee acted outside the scope of her employment.” (internal
quotation marks omitted)). Dismissal is appropriate.
Fraud: Curto’s fraud claim fails. “The elements of fraud in

 

New York include: a false representation of material fact,
knowledge by the party who made the representation that it was
false when made, justifiable reliance by the plaintiff, and
resulting injury.” Evans v. Ottimo, 469 F.3d 278, 283 (2d Cir.
2006). It is not clear which of the Water Authority’s alleged
misconduct Curto believes constitutes fraud. To the extent she is
asserting that the Water Authority fraudulently claimed there was
an “application for service,” Curto does not allege any justifiable
reliance on her part. To the extent she is asserting that the
Water Authority’s billing practices were fraudulent, she does not

sufficiently plead facts that “give rise to a strong inference of

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Fraudulent intent.” Hadami, S.A. v. Xerox Corp., 272 F. Supp. 3d

 

587, 595 (S.D.N.Y. 2017).

Defamation: Curto alleges that the Water Authority committed
“slander, libel and defamation.” Docket # 30 at 7. “A claim for
‘defamation’ is an umbrella term that incorporates the twin torts
of libel and slander. Defamation is the injury to one’s reputation
either by written expression, which is libel, or by oral

expression, which is slander.” Cortes v. Twenty-First Century Fox

 

Am., Inc., 285 F. Supp. 3d 629, 641 (S.D.N.Y. 2018) (internal
citations and quotation marks omitted). One element of a
defamation claim under New York law is a “false statement.” Restis

v. Am. Coalition Against Nuclear Iran, Inc., 53 F. Supp. 3d 705,

 

716 (S.D.N.Y. 2014).

In this case, Curto does not identify a false statement that
the Water Authority made to another. At most, she alleges that a
Water Authority employee disclosed confidential information to her
neighbor. Docket # 30 at 4. That allegation falls short of
identifying either the defamatory statement or of explaining its
falsity. The defamation claim should be dismissed.

Intentional and Negligent Infliction of Emotional Distress:
Curto fails to state a claim for either intentional or negligent
infliction of emotional distress. Under New York law, “[flor both

negligent and intentional infliction of emotional distress, a

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plaintiff must show that the defendant’s conduct is so outrageous
in character, and so extreme in degree, as to go beyond all
possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized society.” Pennington v. City

 

of Rochester, No. 13-CV-6304, 2018 WL 3023383, at *2 (W.D.N.Y.
June 18, 2018). With respect to the trespasses and the termination
of service, nothing Curto alleges approaches that standard. See
id. (dismissing claims for intentional and negligent infliction of
emotional distress, where plaintiff alleged that defendant police
officer “wrongfully entered her home under the auspices of

performing a welfare check on her”). Compare Gallagher v.

 

Consolidated Edison Co. of N.Y., 162 A.D.2d 657, 658 (N.Y. App.

 

Div. 1990) (dismissing claim for intentional infliction of
emotional distress where utility threatened termination of

electrical service), with Macey v. N.Y.S. Elec. & Gas Corp., 80

 

A.D.2d 669, 670 (N.Y. App. Div. 1981) (claim for intentional
infliction of emotional distress sufficiently pled where plaintiff
alleged that electric utility “refused to restore power to
plaintiff until she legally separated from her husband”).

Other Generic Claims: Curto alleges generic claims that the

 

Water Authority violated her “civil rights and human rights under
state and federal law” and conspired to “violate [her] rights and

to violate the law.” Docket # 30 at 7. Standing alone, these

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vague allusions to possible claims are insufficient to survive a
motion to dismiss.

Punitive Damages: Defendants ask the Court to strike Curto’s
request for punitive damages. The Court sees no reason to do so

at this early stage. See Williams v. Coca Cola Co., No. 15-CV-

 

1534, 2017 WL 1214503, at *5 (N.D.N.Y. Mar. 31, 2017) (“Punitive
damages are not a separate cause of action and, thus, courts
generally find motions to strike punitive damages at the motion to
dismiss stage to be premature.”).

Claim(s) relating to Water Authority’s Billing Practices: As

 

noted above, Curto alleges that, by miscalculating her water usage,
the Water Authority overcharged her on a number of her water bills.
It is unclear whether Curto believes such conduct rises to the
level of a constitutional violation, or whether she is instead
raising a mere contractual claim. In either case, Curto has not
sufficiently articulated this claim. The Water Authority’s tariff
states the following concerning water bills:

Any bill for water supplied or service rendered will be
considered a proper charge unless protest is made to the
Authority within fifteen (15) days after the mailing of
a bill.
A. In case of dispute as to payment of a bill, the
customer will be required to present the receipted
bill, canceled check or other evidence of payment.
B. The Authority will, upon request of the customer
or for other reasons, make an inspection of the
premises on account of apparently excessive bills.

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Dkt No. 9-1 at 31. The tariff also permits a customer to request
that her water meter be tested, if there is a dispute “involving
the question as to the accuracy of the meter.” Id. at 29.

Curto alleges that her bills were inaccurate, but she does
not allege that she made use of the above procedure to rectify the
error, nor does she allege that she contacted the Water Authority
about the issue. Without more, the Court cannot discern what
Curto’s theory of liability is, as the Water Authority has provided
a seemingly adequate procedure to dispute water bills and rectify
errors. Moreover, the tariff indicates that charges will be deemed
proper if not disputed within fifteen days; because there is no
allegation that Curto disputed the charge, it is unclear how she

can dispute it now. Cf. Silvermark Corp. v. Rosenthal & Rosenthal

 

Inc., 856 N.Y¥.S.2d 503 (N.Y. Sup. Ct. 2008) (table) (concluding
that dispute over charges had been “waived” and dismissing breach
of contract claim, where contract gave company “sixty days to
object” to the charge but company failed to raise timely
objection) .

Therefore, the Court does not have sufficient information
before it to conclude that Curto states a plausible claim for
relief based on the alleged overcharging. That claim should be

dismissed.

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Til. Curto’s Request for Sanctions and Defendants’ Argument on
Untimeliness

 

In her briefing, Curto requests sanctions against defense
counsel. See Docket # 38 at 9. Curto’s argument is without merit,
and her request is denied.

Defendants argue that Curto’s opposition brief was untimely
by four days. See Docket # 39 at 7. The Court declines to reject

the opposition on that ground.

IV. Opportunity to Amend

 

Curto should not be given leave to amend her complaint. Curto
has already had an opportunity to cure the defects that Defendants
and this Court previously identified, and she does not presently

offer any other proposed amendments. See McLaughlin v. Anderson,

 

962 F.2d 187, 195 (2d Cir. 1992). Furthermore, it is unlikely
that an additional round of amendments and Rule 12(b) (6) motion
practice will be a useful exercise. This litigation should proceed
to discovery, so that the underlying facts may be investigated and

Curto’s remaining claims can be fully litigated.

CONCLUSION
For the reasons stated above, it is the Court’s Report and
Recommendation that Defendants’ motion to dismiss (Docket # 33) be

GRANTED IN PART and DENIED IN PART. All claims against Executive
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Director Jann should be dismissed. All claims against the Water
Authority should be dismissed, except for: (1) the procedural due

process claim; (2) the takings claim; and (3) a state-law trespass

       

 

claim.
JONATHAN W. FELDMAN
ITED STATES MAGISTRATE JUDGE
Dated: Rochester, New York

March3j , 2021

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Pursuant to 28 U.S.C. § 636(b) (1), it is hereby

ORDERED, that this Report and Recommendation be filed with
the Clerk of the Court.

ANY OBJECTIONS to this Report and Recommendation must be filed
with the Clerk of this Court within fourteen (14) days after
receipt of a copy of this Report and Recommendation in accordance
with Rule 72(b) (2) of the Federal Rules of Civil Procedure.

The district court will ordinarily refuse to consider on de
novo review arguments, case law and/or evidentiary material which
could have been, but was not, presented to the magistrate judge in
the first instance. See, e.g., Paterson-Leitch Co., Inc. v. Mass.
Mun. Wholesale Elec. Co., 840 F.2d 985 (ist Cir. 1988).

 

 

 

 

Failure to file objections within the specified time or to
request an extension of such time waives the right to appeal the
District Court’s Order. Thomas v. Arn, 474 U.S. 140 (1985);
Wesolek v. Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

 

The parties are reminded that, pursuant to Rule 72(b) of the
Local Rules of Civil Procedure for the Western District of New
York, “[w]ritten objections . . . shall specifically identify the
portions of the proposed findings and recommendations to which
objection is made and the basis for each objection, and shall be
supported by legal authority.” Failure to comply with the
provisions of Rule 72(b) may result in the District Court’s refusal
to consider the objection.

SO ORDERED.

  
  

 

| Jonathan W. Feldman

ed States Magistrate Judge

Dated: March $f, 2021
Rochester, New York

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